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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

I, Jay D. Johnston, being first duly sworn, hereby depose and states as follows:

                               PURPOSE OF THE AFFIDAVIT

       1.      This affidavit is submitted in support of a Criminal Complaint for Jeremy

Sorvisto, Sr., charging violations of 18 U.S.C. § 1752(a)(1)(2), and 40 U.S.C. § 5104(e)(2)(D)

and 5104(e)(2)(G).

                                BACKGROUND OF AFFIANT

       2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been so employed since September 1997. Prior to my employment with the FBI, I was a Deputy

Sheriff in Jackson County, Michigan for approximately 8 years. I am currently assigned to the

FBI’s Detroit Division, Marquette Resident Agency. My duties include the investigation of

various violations of federal criminal law, including matters involving violations of 18 U.S.C. §

1752(a)(1)(2), and 40 U.S.C. § 5104(e)(2)(D) and 5104(e)(2)(G).

       3.      Unless otherwise stated, the information in this Affidavit is either personally

known to me, has been provided to me by other individuals, or is based on a review of various

documents, records, and reports. Because this Affidavit is submitted for the limited purpose of

establishing probable cause to support an application for an arrest warrant, it does not contain

every fact known by me or the United States. The dates listed in this Affidavit should be read as

“on or about” dates.



                  STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                       Background – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions




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around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd




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encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                 Facts Specific to This Complaint

       10.     On January 7, 2021, the FBI received a tip that Karl Dresch, who resides at a

known address in Calumet, Michigan, a small town of approximately 744 residents in the Upper

Peninsula of Michigan, was at the U.S. Capitol Building, on January 6, 2021, and had entered

said building without permission or authorization. The tip indicated that Dresch had posted

information describing his January 6, 2021, entry into the U.S. Capitol Building on his Facebook

account, https://www.facebook.com/karl.dresch.7 (Facebook account number

100050701740614).

       11.     Subsequently, on January 12, 2021, United States Magistrate Judge for the

District of Columbia Robin Meriweather issued a search warrant concerning information

associated with Dresch’s Facebook account. The Facebook records provided pursuant to that

search warrant included the below photograph, identified as Figure 1, which Dresch sent to



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another Facebook user, on January 08, 2021, at approximately 11:35 a.m. Facebook records do

not include the date or time the photograph was taken; however, FBI SA John Fortunato

provided a copy of the photograph to a member of the U.S. Capitol Police, who stated that the

photograph was taken in the Crypt of the U.S. Capitol and that it showed the statute of John

Caldwell Calhoun.




                                            Figure 1




                                                4
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       12.     SA Fortunato reviewed the photograph closely and compared it with the below

“selfie,” identified as Figure 2. SA Fortunato noted that the person pictured in both photographs

appears to be wearing the same distinctive clothing – a jacket or blazer-style jacket and a plaid

multicolor shirt with some reddish coloring, over a hooded sweatshirt, and a baseball-style cap.

The photograph for Figure 1, which depicts more of the subject’s body, also shows that the

subject was wearing dark-colored pants or jeans, black gloves, and reflective sunglasses, and

carrying large flags.




                                             Figure 2




                                                 5
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       13.     Dresch’s Facebook records further revealed that, on January 6, 2021, at about

3:14 p.m., Dresch posted the below photograph, identified as Figure 3. This photograph was

posted with the title, “We are in.” SA Fortunato shared the post displaying Figure 3 with a U.S.

Capitol Police Officer, who confirmed that it accurately depicts the inside of the U.S. Capitol

Building, specifically, the “Crypt,” a location under the rotunda in the center of the Capitol.

Facebook records also include metadata for the photograph in Figure 3, which reflect that this

photograph was taken at 2:26 p.m.



                                              Figure 3



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       14.     On January 19, 2021, Karl Dresch was arrested on a Federal Complaint, issued

out of the District of Columbia, charging him with 18 U.S.C. § 1752(a), 40 U.S.C. § 5104(e)(2),

and 18 U.S.C. §1512(c)(2). On February 3, 2021, Dresch was indicted by a federal grand jury

sitting in the District of Columbia. At the time of his arrest, the FBI was still attempting to

identify who, if anyone, may have accompanied Dresch inside the Capitol.

                        Jeremy Sovisto, Sr. and Ashley Aho Investigation

       15.     On January 20, 2021, a Complainant submitted an online tip to the FBI National

Threat Operations Center, indicating that in now-deleted Instagram and Snapchat social media

posts, Ashley Aho posted photos that appeared to be first-hand photographs from inside the U.S.

Capitol, on January 6, 2021, and also posted “made it into the Capitol.” During a subsequent

FBI interview, the Complainant advised that he/she went to grade school with Aho for



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approximately 8 years, and he/she is friends with Aho on Instagram. While the Complainant

stated that he/she has never met Jeremy Sorvisto, Sr. in person, he/she has seen him on numerous

social media posts that Aho has made, in many of which Aho either tagged him as Jeremy

Sorvisto, and/or identified him as her fiancé, Jeremy. The Complainant knows Aho to reside in

Hancock, Michigan, and past social media posts by Aho have indicated that she lives with

Sorvisto. The Complainant provided me with the three photographs, including the two described

below, that were posted to Instagram account: ashthedash16, which the Complainant, and later

Facebook, Inc. (Instagram is owned by Facebook, see below) confirmed was Aho’s Instagram

account.

            a. The first Instagram post provided by the Complainant, identified below as Figure

               4, dated January 5 (year not shown), is of a female the Complainant identified as

               Aho sleeping with her head on a male subject’s lap, in the back seat of a car driven

               by an unidentifiable female. The male in the photo, whose face is obscured, is

               wearing what appears to be a distinctive black with white reflective stripes (jacket

               relevance explained below). The caption reads, “Road tripped to Ohio to stay the

               night. Fell asleep in his lap. DC tomorrow. #toledo #trump2020.”

                                              Figure 4




                                                 8
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 b. The second Instagram post provided by the Complainant, identified below as

    Figure 5, dated January 6 (year not shown), is a photo of what appears to be a

    ‘selfie’ of a female the Complainant identified as Aho and a male that the

    Complainant identified as Sorvisto. The caption reads, “Here is a picture of us to

    brighten your day!” Sorvisto appears to be wearing the same black and white

    jacket as Figure 5, as well as a red hat and sunglasses.



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                                             Figure 5




       16.     As part of the Dresch investigation, FBI SA Matthew Drummond obtained and

reviewed surveillance video from the hotel that Dresch was determined to have stayed at the

nights of January 5 and 6, 2021, the Fairfield Inn, Chantilly, Virginia. The hotel room was

rented in Dresch’s name and the hotel does not have record of Aho or Sorvisto renting their own

room. The below still image, identified as Figure 6, is of a subject, believed to be Sorvisto, who

entered the hotel at approximately the same time as Dresch and his wife. The photo is believed

to be Sorvisto based on the Complainant’s previous identifications in the above two Figures, the




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same distinctive black jacket with reflective stripes, as well as my review of Sorvisto’s Michigan

driver’s license photo, as explained in the next paragraph.

                                             Figure 6




       17.     I have compared a Michigan driver’s license photo for Jeremy Sorvisto, Sr. to the

above three images and believe that the above three images are of Sorvisto.

       18.     SA Drummond obtained the three below still images, identified as Figures 7, 8,

and 9, from surveillance video from inside the U.S. Capitol, on January 6, 2021. In those

images, a masked subject (medical-type mask) who is believed to be Dresch (as explained in

paragraphs 37-41), can be seen standing and apparently conversing with a second masked subject

(also a medical-type mask), who is wearing what appears to be the same black jacket with




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reflective stripes, and similar hat and sunglasses, as the identifiable subject at the hotel, believed

to be Sorvisto.

                                               Figure 7




                                               Figure 8




                                                  12
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                            Figure 9




                               13
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       19.     On or about February 19, 2021, Facebook, Inc., provided subscriber records in

response to a federal grand jury subpoena for the following accounts, Jersorv (Facebook);

100000846380530 (Facebook); and Ashthedash16 (Instagram). As noted below, Aho’s

Instagram account is active, as of February 19, 2021. Both Aho’s and Sorvisto’s Facebook

account were closed, on January 24, 2021, approximately four minutes apart from each other.

Aho’s Facebook and Instagram accounts both had the same registered email and text verified

phone number.

       20.     The Michigan Secretary of State currently lists the same address in Hancock,

Michigan for both Sorvisto and Aho. Hancock is a small town in the Upper Peninsula of

Michigan, with an approximate population of 4,550 (2019). Hancock is approximately 12 miles

from Calumet, Michigan, where Dresch resides.

       21.     As noted above, pursuant to a previously issued federal search warrant, records

were obtained for Dresch’s Facebook account, account number 100050701740614. Those

records reveal that on January 7, 2021, someone using Aho’s Facebook account, account number

100000846380530, sent Dresch’s Facebook account an “attachment” related to the FBI seeking

information that will assist in identifying individuals who were actively instigating violence in

Washington, D.C., or those that had done so on January 6, 2021. A photo of the referenced

Facebook record is below, identified as Figure 10.




                                               Figure 10




                                                 14
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       22.    The examination of Dresch’s Facebook records also revealed that on January 8,

2021, someone using Sorvisto’s Facebook account, account number 100037963491421, sent

Dresch’s Facebook account a link to a video, URL

https://www.bitchute.com/video/5UHcKcaLwLRB/, titled Ashli Babbit ALIVE and WELL The

False Flag Shooting. The video is footage of Babbit being shot inside the Capitol, contends the

shooting was staged, and that Babbit was not really shot and killed. A photo of the referenced

Facebook record is below, identified as Figure 11.




                                           Figure 11




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       23.     On February 25, 2021, upon further review of surveillance video from the hotel

that Dresch was determined to have stayed at the nights of January 5 and 6, 2021, the Fairfield

Inn, Chantilly, Virginia, SA Drummond located additional footage of two subjects, believed to

be Dresch and Sorvisto, arriving back at the hotel, on January 6, 2021, at approximately 8:14

p.m. The subjects in the hotel video are wearing what appears to be the same clothing as the

above images inside the U.S. Capitol (Figure 1 believed to be Dresch, and Figures 7, 8 and 9

believed to be Dresch and Sorvisto). The hotel video also depicts the subject believed to be

Sorvisto carrying two flags, one blue and one red, which appear similar to the blue flag the

subject believed to be Dresch and the red flag believed to be Sorvisto were holding inside of the

Capitol. Three still images of the subjects arriving back at the hotel (without medical masks) are




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below, identified as figures 12, 13, and 14.


                                                  Figure 12




                                               Figure 13




                                                  17
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                                   Figure 14




24.   Pursuant to a federal search warrant, issued out of the District of Columbia,




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Facebook, Inc., provided the FBI with records for Ashley Aho’s Facebook account, account

number 100000846380530, as well as Sorvisto’s Facebook account, account number

100000846380530. In Instant Messenger exchanges between Aho’s Facebook account and an

account belonging to an individual with the initials R.L., on January 21, 2021, the following

exchange takes place (not all inclusive):

-Aho tells R.L., “Karl’s in jail might get out Friday but otherwise facing 20 years in jail. They

might be after us too? Idk….”

-Aho sends R.L. a link to a Detroit News article related to Dresch’s January 19, 2021 federal

arrest.

-Aho tells R.L., “We were with Karl the past 2 weeks and they took his phone and Sara’s white

car. Found him in Cali because they tracked his phone.”

-Aho tells R.L., “So they’ll know we messaged Karl about renting the car and shit.”

-Aho tells R.L., “That’s all I’ll say over the phone…”

-Aho tells R.L., “Every time we hear someone outside we freak tf out.”

-Aho tells R.L., “Last one straight says fb friend turned him in. With the messages I’m getting

and people telling me I’m a hero one day and then blocking me and shit when that terrorist post

comes out a day or 2 later, idk man I might get fucked.”

-R.L. responds to Aho, “I don’t think so you weren’t there.”

-Aho responds to R.L., “Yeah. Jeremy was tho.” And, “He goes I go. Ride or die.”

-Aho later the same day writes to R.L., “I did post Jeremy’s pics. Deleted them real quick within

10 minutes but people seem to think I was there and threaten me...”

          25.   The federal Facebook search warrant records further reveal that in an Instant

Messenger exchange between Aho’s Facebook account and an account belonging to an




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individual with the initials J.H., on January 07, 2021, the following exchange takes place (not all

inclusive):

-Aho tells J.H., “Yeah we drank beer on the steps of the white house at one point. Kost (sic) of us

were cool.”

-J.H. responds, “White House or capital (sic) steps.”

-Aho responds, “Capital,” and six seconds later sends the below photo to J.H. The undated photo

is of Jeremy Sorvisto, wearing a red baseball type hat, gray hooded sweatshirt, and a black jacket

with white and green reflective stripes, standing in front of a building with white columns,

holding a green bottle, which appears to be a beer bottle.

-Shortly after sending the photo to J.H., Aho writes, “There’s Jeremy. I forgot to take a selfie.”

The photo sent by Aho to J.H., which was also found in the Sorvisto’s Facebook records, is

embedded below, identified as Figure 15.




                                             Figure 15




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       26.     During standard time, UTC (Coordinated Universal Time) is +5 hours (5 hours

ahead) of Eastern Standard Time (EST).

       27.     The federal Facebook search warrant records further reveal that in a Facebook

Instant Messenger exchange with an individual with initials J.P., on January 06, 2021, at

19:17:17 (UTC), 14:17:17 (EST), an individual using Aho’s account wrote, “Inside scoop.” And

at 19:24:07 (UTC), 14:24:07 (EST), an individual using Aho’s account wrote, “They’re gassing

us. Lol we got protection tho (sic). Going into the Whitehouse.” At 21:06:08 (UTC), 16:06:08

(EST), an individual using Aho’s account sent a photograph of a crowd within what appears to


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be the U.S. Capitol. At 21:06:12 (UTC), 16:06:12 (EST), an individual using Aho’s account

follows up the photo 4 seconds later with, “In the capital (sic).” The photograph is embedded

below and identified as Figure 16.

                                              Figure 16




       28.     The federal Facebook search warrant records further reveal that on January 7,

2021, at 04:47:57 (UTC), which would be January 6, 2021, at 11:47:57 (EST), an individual

using Sorvisto’s Facebook account sent two photos to an unknown account. The first image,

embedded below and identified as Figure 17, is a subject who appears to be Sorvisto, based on

the amount of his face that is visible, as well as clothing, standing in the Crypt of the Capitol




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Building, wearing a blue medical-type mask. The second photo is the same photo as Figure 1

(Dresch standing with a flag within the Crypt of the Capitol building), which was recovered from

Dresch’s Facebook records, provided in response to a federal search warrant.

                                             Figure 17




       63.     Based on all of the foregoing information, as well as my training and experience, I

respectfully submit that there is probable cause to believe that SORVISTO violated Title 18

U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any

restricted building or grounds without lawful authority to do so; (2) knowingly, and with intent to

impede or disrupt the orderly conduct of Government business or official functions, engage in

disorderly or disruptive conduct in, or within such proximity to, any restricted building or


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grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of

Government business or official functions. For purposes of Section 1752 of Title 18, a “restricted

building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds

where the President or other person protected by the Secret Service, including the Vice President,

is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an

event designated as a special event of national significance. Your affiant also submits there is

probable cause to believe that SORVISTO violated 40 U.S.C. § 5104(e)(2)(D), which makes it a

crime to utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress; and 40 U.S.C. § 5104(e)(2)(G)

which makes it a crime to parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      ____________________________
                                                      Special Agent Jay D. Johnston
                                                      Federal Bureau of Investigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of April 2021.
                                                                         2021.04.05
                                                                         16:38:05 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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